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Attorneys for Plaintiff,
TIMOTHY HILL,

UNITED STATES DISTRICT COURT
CENTRAL DIS'I`RICT OF CALIFORNIA, WESTERN DIVISION

Case No.
TIMOTHY I-HLL, 2:12-cv-0'7912-AJW
Plaintiff,
NOTICE OF SE'I`TLEMENT

Vs.
CREDIT MANAGEMEN’I`, L.P.; and
DOES 1 TO 10, inclusive,
Defera.dants.

 

 

 

 

Plaintiff, TIMOTHY HILL, by and though his attcmey, infox‘ms this
Honorable Court that Plaintiff` has settled his case With §)ei:`endant, CREDIT
MANAGEMENT, L.P.; and DOES 1 TO 10, inclusive The parties are in the
process cf tinalizing settlement, and Plain.tiff anticipates the settlement Will be
finalized in 40 days Plaintiff respectfully requests that this Honorable Ccurt vacate
ali dates currently set on calendar for this case.

Respectfully submitted this 21St day cf January, 2013,
PRICE LAW GROUP APC

By: /s/ G.l Thcmas Martin. III

G. Thc)mas Martin, III
Attomey for Plaintiff

NOTICE OF SETTLEMENT

 

